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                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF LOUISIANA


   RONALD BUSBY, on behalf of himself and) CIVIL ACTION NO.:
   all others similarly situated,        )
                                         )
                                         ) SECTION:
           Plaintiff,                    )
                                         )
           vs.                           ) MAGISTRATE:
                                         )
                                         )
   DAUTERIVE CONTRACTORS, INC.           )
                                         )
           Defendant.                    )


                       FLSA COLLECTIVE ACTION COMPLAINT

                                      INTRODUCTION

     1. This is a collective action brought by Plaintiff Ronald Busby (“Plaintiff”) on behalf

        of himself and all individuals who, since October 2011, previously worked or

        currently work for Defendant, Dauterive Contractors, Inc. as hourly laborers and

        were not properly paid overtime wages as mandated by the FLSA.

                                      JURISDICTION

   2.   Jurisdiction in this Court is proper as the claims are brought pursuant to the Fair

        Labor Standards Act, as amended (29 U.S.C. §201, et seq., hereinafter called the

        “FLSA”) to recover unpaid back wages, an additional equal amount as liquidated

        damages, lost wages, front pay, compensatory damages, pre-judgment interest, and

        reasonable attorney’s fees and costs.

   3.   The jurisdiction of the Court over this controversy is based upon 29 U.S.C.

        §216(b).




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                                            VENUE

   4.    Venue is proper in the Western District of Louisiana under 28 U.S.C. § 1391

         because it is where Defendant is subject to personal jurisdiction, where Defendant

         does business in the State of Louisiana, and where the unlawful acts complained of

         occurred.

                                           PARTIES

   5.    At all times material hereto, Plaintiff was, and continues to be a resident of

         Louisiana.

   6.    At all times material hereto Defendant was, and continues to be a Louisiana

         company. Further, at all times material hereto, Defendant was, and continues to be,

         engaged in business in Iberia Parish, Louisiana.

         PLAINTIFF AND FLSA COLLECTIVE ACTION PLAINTIFFS WERE
                          SUBJECT TO THE FLSA

   7.    At all times material hereto, Plaintiff and the FLSA Collective Action Plaintiffs

         were “engaged in commerce” within the meaning of §6 and §7 of the FLSA, and

         subject to the individual coverage of the FLSA.

   8.    At all times material hereto, Plaintiff and the FLSA Collective Action Plaintiffs

         were “engaged in the production of goods” for commerce within the meaning of §6

         and §7 of the FLSA, and subject to the individual coverage of the FLSA.

   9.    At all times material hereto, Plaintiff and the FLSA Collective Action Plaintiffs

         were “employees” of Defendant within the meaning of FLSA.

   10.   At all times material hereto, Defendant was the “employer” of the Plaintiff and the

         FLSA Collective Action Plaintiffs within the meaning of FLSA.



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   11.   At all times material hereto, Defendant was an “enterprise engaged in commerce”

         within the meaning of FLSA.

   12.   Based upon information and belief, the annual gross revenue of Defendant was in

         excess of $500,000.00 per annum during the relevant time periods.

   13.   At all times material hereto, the work performed by the Plaintiff and the FLSA

         Collective Action Plaintiffs were directly essential to the business performed by

         Defendant.

                      FLSA COLLECTIVE ACTION ALLEGATIONS

   14.   All previous paragraphs are incorporated as though fully set forth herein.

   15.   Plaintiff brings this FLSA claim as a collective action pursuant to 29 U.S.C. §

         216(b) on behalf of all persons in the United States, who, since October 2011,

         previously worked or currently work for Defendant as hourly laborers or

         crewmembers and were not properly paid overtime wages as mandated by the

         FLSA.

   16.   Plaintiff brings this case as a collective action under the FLSA to recover unpaid

         overtime compensation, liquidated damages, statutory penalties, attorneys’ fees and

         costs, and damages owed to Plaintiff and all similarly situated employees of

         Defendant.

   17.   Plaintiff estimates that there are dozens, if not hundreds, of members of the FLSA

         Collective Plaintiffs who have been affected by Defendant’s improper policies and

         practices.   Plaintiff estimates that potential members of the FLSA Collective

         Plaintiffs number in the dozens, if not the hundreds, based upon the number of

         current employees of Defendant, the number of work locations maintained by




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         Defendant, the Defendant’s treatment of all of its employees in the same manner,

         and the turnover rate of Defendant’s employees in the last three years. It would be

         impractical to join all of those employees and former employees in this action.

   18.   The precise number of FLSA Collective Plaintiffs can be easily identified and

         located using Defendant’s timesheets, payroll records and other personnel records.

         Given the composition and size of the FLSA Collective Plaintiffs, potential opt-in

         class members may be informed of the pendency of this Collective Action by direct

         mail.

   19.   This action is properly maintained as a collective action because Plaintiff is

         similarly situated to the collective action members he seeks to represent.

          (A)     Plaintiff and similarly situated employees worked for Defendant as hourly

          employees performing jobs such as mechanics, drillers, drill pushers, vehicle

          operators and other laborer positions and, through Defendant’s willful payment

          practices they were systemically and routinely denied overtime compensation for

          hours they worked in excess of 40 per week. Defendant’s payment scheme has

          affected Plaintiff and similarly situated employees in the same fashion.

          (B)     Plaintiff is personally aware that persons who worked as hourly laborers

          were subject to the same job scheduling policies, payment practices and

          operational procedures.

          (C)     Although the number of hours worked by particular employees may differ,

          the payment scheme of paying employees no overtime compensation for hours

          worked in excess of 40 per week is common to all hourly employees who worked




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          for Defendant as laborers and the hours each employee worked should be readily

          determinable by review of Defendant’s records.

          (D)     Accordingly, Plaintiff is in the best position to represent all members of

          the FLSA collective class as a whole.

   20.    In addition, because Defendant applied its unlawful employment and payment

   policies in the same manner to all potential members of the FLSA Collective Plaintiffs,

   common issues of law and fact predominate, and therefore pursuing this matter as a

   collective action serves as the most expeditious use of the court’s time and resources, as

   well as avoiding multiple actions on these issues, with the potential for differing or

   inconsistent judgments.

   21.    Plaintiff requests that the Court authorize notice to the FLSA Collective Plaintiffs

   to inform them of the pendency of this action and their right to “opt-in” to this lawsuit

   pursuant to 29 U.S.C. § 216(b), for the purpose of seeking unpaid overtime compensation

   and liquidated damages under the FLSA.


                                  STATEMENT OF FACTS

   22.    Defendant is in the business of providing seismic oil and gas testing and drilling

   services.

   23.    In March 2012, Plaintiff was hired by Defendant as a Drill Pusher to perform this

   and other services in connection with Defendant’s oil and gas testing and drilling

   business. At that time, Plaintiff was classified as an “employee.”

   24.    Plaintiff worked for Defendant until February 2013.

   25.    During his tenure with Defendant, it controlled when and where Plaintiff worked.

   Plaintiff had no ability to control his schedule, the place or time he would work or with



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   whom he would be working during the time he spent working for Defendant. Defendant

   retained complete control over how, when and where he performed his job.

   26.    At the time he was hired, Plaintiff’s rate of pay was $15.42 per hour.

   27.    During the entire time he worked for Defendant, Plaintiff routinely worked 80 or

   more hours per week.

   28.    However, Plaintiff was not paid one and one-half times his regular hourly rate for

   any hours he worked in excess of 40 per week.

   29.    Instead, Defendants paid Plaintiff a flat rate per day for up to 12 hours of work

   and then paid him his straight-time hourly rate for any hours worked in excess of 12 per

   day.

   30.    Thus, for example, if Plaintiff worked a 15-hour day, he would be paid $185 for

   the first 12 hours and then $15.42 for the last 3 hours.

   31.    Documentation concerning the number of hours actually worked by Plaintiff and

   the compensation actually paid to Plaintiff are in the possession and custody and control

   of Defendant.

   32.        Defendant has violated Title 29 U.S.C. §207 from at least March 2012 and

   continuing through at least February 2013 in that:

               (A) Plaintiff worked in excess of 40 hours per week for the period of

   employment with Defendant;

               (B)   No payments, or provisions for payment, have been made by Defendant

   to properly compensate Plaintiff at the statutory rate of one and one-half times Plaintiff’s

   regular rate for those hours worked in excess of 40 hours per work week as provided by

   the FLSA; and




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               (C)    Defendant has failed to maintain proper time records as mandated by

   the FLSA.

   33.   In violating the FLSA, Defendant acted willfully and with reckless disregard of

   clearly applicable FLSA provisions.

                                    CAUSES OF ACTION


      COUNT I: FAILURE TO PAY OVERTIME IN VIOLATION OF THE FAIR
               LABOR STANDARDS ACT 29 U.S.C. § 201 ET. SEQ.


   34.   Plaintiff re-alleges and re-avers paragraphs 1 through 33 of the Complaint as if

   fully set forth herein.

   35.   As a result of Defendant’s payment scheme, Plaintiff and the FLSA Collective

   Action Plaintiffs worked in excess of 40 hours per week for Defendant, but Plaintiff and

   the FLSA Collective Action Plaintiffs were not compensated at the statutory rate of one

   and one-half times their regular rate of pay for these overtime hours.

   36.   Plaintiff and the FLSA Collective Action Plaintiffs were, and are, entitled to be

   paid at the statutory rate of one and one-half times their regular rate of pay for those

   hours worked in excess of 40 hours.

   37.   At all times material hereto, Defendant failed to comply with Title 29 and United

   States Department of Labor Regulations, 29 C.F.R. §§516.2 and 516.4, by implementing

   a management policy, plan or decision that intentionally provided for the compensation

   of Plaintiff and the FLSA Collective Action Plaintiffs as if they were exempt from

   coverage under 29 U.S.C. §§201 through 219, disregarding the fact that it was not

   exempt.

   38.   At all times material hereto, Defendant failed to maintain proper time records as



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   mandated by the FLSA.

   39.   Defendant’s actions were willful and/or showed reckless disregard for the

   provisions of the FLSA as evidenced by its failure to compensate Plaintiff and the FLSA

   Collective Action Plaintiffs at the statutory rate of one and one-half times their regular

   rate of pay for the hours worked in excess of 40 hours per week when it knew, or should

   have known, such was and is due.

   40.   Defendant has failed to properly disclose or apprise Plaintiff and the FLSA

   Collective Action Plaintiffs of their rights under the FLSA.

   41.   Due to the intentional, willful, and unlawful acts of Defendant, Plaintiff and the

   FLSA Collective Action Plaintiffs have suffered lost compensation for time worked over

   40 hours per week, plus liquidated damages.

   42.   Plaintiff and the FLSA Collective Action Plaintiffs are entitled to an award of

   reasonable attorney’s fees and costs pursuant to 29 U.S.C. §216(b).


                                      ATTORNEY’S FEES

   43.    Plaintiff has retained the law firm of Jackson+Jackson to represent Plaintiff and

   the FLSA Collective Action Plaintiffs in the litigation and has agreed to pay the firm a

   reasonable fee for its services.

                                           CONSENT

   44.    Plaintiff’s consent to file this Complaint is evidenced by his signature on the

   FLSA Consent Form that is attached hereto as Exhibit “A”.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, on behalf of himself and the FLSA Collective Action

   Plaintiffs, respectfully requests that judgment be entered in their favor against Defendant:



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               a.   Declaring, pursuant to 29 U.S.C. §§2201 and 2202, that the acts and

   practices complained of herein are in violation of the maximum hour provisions of the

   FLSA;

               b.   Awarding Plaintiff and the FLSA Collective Action Plaintiffs overtime

   compensation in the amount due them for their time worked in excess of 40 hours per

   workweek;

               c.   Awarding Plaintiff and the FLSA Collective Action Plaintiffs liquidated

   damages in an amount equal to the overtime award;

               d.       Awarding Plaintiff and the FLSA Collective Action Plaintiffs

   reasonable attorney’s fees and costs and expenses of the litigation pursuant to 29 U.S.C.

   §216(b); and

               e.   Awarding Plaintiff and the FLSA Collective Action Plaintiffs pre-

   judgment interest.



                                               Respectfully submitted,

                                               /s/ Jody Forester Jackson                _
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   PLAINTIFF WILL REQUEST WAIVER OF SERVICE



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